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LAW OFFICES OF

HOLMES WEDDLE & BARCOTT

A FPEOFESSIONAL CORPORATION
Founded 1914
Over A CENTURY OF SERVICE TO OUR CLIENTS
3101 WESTERN AVENUE, SUITE 500 - SEATTLE, WASHINGTON 98121-3071
TELEPHONE (206) 292-8008 - FAX (206) 340-0289

MICHAEL A. BARCOTT

EMAIL: mbarcott(@hwh-law.com

March 5, 2020

VIA EMAIL ONLY

Ben Hagedorn

State of Alaska

Department of Natural Resources
550 W. 7" Avenue, Suite 900C
Anchorage, AK 99501-3557

Re: F/V SCANDIES ROSE
Our File No. 7483.032057

Dear Mr. Hagedorn:

As per my earlier correspondence we engaged Global Salvage to conduct an ROV survey
of the SCANDIES ROSE. After conducting that operation we requested that Global give to us
two “order of magnitude” bids. The first is for removal of any victims, fishing pot debris and
vessel defueling. The second is for salvage operations to include the above and, additionally,
remove the vessel from the bottom. I attach a copy of Global’s letter of February 26"
concerning the costs of these operations. Please note that these cost estimates are based upon a
June/July operation due to weather.

We are conferring with the families of the deceased crew and others regarding these
proposed operations. I will be in touch within the next 30 days.

Very truly yours,

  
   

Michaet A. Barcott

MAB:hhm

Enclosure

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ANCHORAGE OFFICE: 701 WEST EIGHTH AVENUE, SUITE 700 - ANCHORAGE, ALASKA 99501-3408 » TELEPHONE (907) 274-0666 - FAX (907) 277-4657
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GLOBAL

a AAER company

 

February 26, 2020

RE: F/V Scandies Rose, ROM Cost Estimate
Company: Scandies Rose Fishing Company, LLC
Representative: Michael Barcott

Global Diving & Salvage, Inc. is pleased to provide a rough order of magnitude cost estimate for operations at the FV Scandies Rose wreck site. Per
request we were asked to consider the following operations:

e® Salvage Operations, to include:
o Victim Recovery
o Fishing Pot — Debris Removal
o Vessel Defueling

e Wreck Removal — Transport

The vessel's location provides for a challenging operating arena. After conducting remote vehicle operations onsite, there are a few considerations
to keep in mind. The location is exposed to open sea swell, weather in this area is unpredictable, and the water depth is near maximum operational
depths for safe air diving operations and in a depth range which gas diving operations should be considered. Current at the location may limit
diving windows to slack tidal operations.

This estimate considers these conditions and provides for a fixed operational platform to conduct safe diving operations as well as necessary
ancillary equipment and materials necessary to execute the requested mission.

 

Description Estimated ROM Cost

 

OPERATION A - Salvage Operations to Include: victim recovery, fishing pot debris removal and vessel § 1, 880,000.00
defueling. Vessel left on site.

 

 

OPERATION B - Salvage Operations to Include: fishing pot debris removal, defueling, heavy lift S 4,062,000.00
operations and vessel refloat. (Victim’s raised with the vessel) Vessel removed and towed to Kodiak
or Seward.

 

 

 

 

Assumptions and exclusions:
e Costs estimated around optimum operational window, spring or summer operations (June/July) and does not include any weather or
other contingencies.
* Does not include any fuel or hazardous materials disposal/shipping costs.
e Assumes pot debris, once recovered, will be transported to Kodiak.
© Does not include any additional costs associated with debris disposal or handling.
*® Assumes a dead ship tow to Kodiak or Seward, does not include any additional costs for vessel breaking/disposal.
e Includes onsite operational fuel estimate only.

Regards,
oo

Bernie Rosenberger, Operations Manager, Alaska
Global Diving & Salvage

Anchorage Office + 5304 Eielson Street + Anchorage, AK 99518 - www.gdiving.com + 907.563.9060 Office + 907.563.9061 Fax

MARINE CONSTRUCTION | COMMERCIAL DIVING | MARINE CASUALTY RESPONSE | ENVIRONMENTAL SERVICES
